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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                                  Case No. 5:19-1060PRL

FREDRICK MICHAEL POHL, JR.
                                                                      AUSA: Jackson Boggs
                                                             Defense Atty.: Alisha Marie Nair

 U.S. MAGISTRATE     Gregory J. Kelly     DATE/TIME      May 21, 2019
 JUDGE               Courtroom 3C                        4:22-4:27 = 05 mins
 DEPUTY CLERK        Kim Anderson         RECORDING      Digital
                                                         Orlando_Digital_Transcripts@flmd.uscourts.gov

 INTERPRETER                              PTS/PROB.      Sonya Williams


                               CLERK’S MINUTES
                 INITIAL APPEARANCE ON PC ARREST/COMPLAINT
DFT TAKEN INTO FEDERAL CUSTODY TODAY



Case called, appearances made, procedural setting by Court
Dft advised of his rights
Dft requests an appointment of counsel/Court appoints FPD
No issue as to identity
Gov summarizes charge(s)/penalties
Gov seeks detention
Dft files waiver of PE hearing
Dft waives detention without prejudice at this time
Dft advised of his right to detention hearing
Court enters order of detention
Court adjourned
